           Case 1:14-cr-00228-LJO-SKO Document 113 Filed 12/05/14 Page 1 of 2


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                   c


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 6 Attorney for Defendant
   BREE ANN BENSON
 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00228-LJO-SKO
11
                                    Plaintiff,            WAIVER OF DEFENDANT’S PERSONAL
12                                                        PRESENCE; ORDER THEREON
                             v.
13
     BREE ANN BENSON,
14
                                    Defendant.
15

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            Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Bree Ann Benson, having been advised of her
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     right to be present at all stages of the proceedings, hereby requests that this Court proceed in her absence
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     on every occasion that the Court may permit, pursuant to this waiver. Defendant resides approximately
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     2,700 miles from this court, and travel between Florida and this court is costly. Defendant agrees that
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     her interests shall be represented at all times by the presence of her attorney, Beverly R. McCallum, the
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     same as if Defendant were personally present, and requests that this court allow her attorney at law to
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     represent her interests at all times. Defendant further agrees that notice to Defendant’s attorney that
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     Defendant’s presence is required will be deemed notice to the Defendant of the requirement of her
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     appearance at said time and place.
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     / /
26

27
     / /
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       RULE 43 WAIVER; [PROPOSED] ORDER                   1
       THEREON
             Case 1:14-cr-00228-LJO-SKO Document 113 Filed 12/05/14 Page 2 of 2


 1 DATED:           December 5, 2014                      /s/ Bree Ann Benson (original signature retained by
                                                                               Beverly R. McCallum)
 2                                                        BREE ANN BENSON
 3
     DATED:         December 5, 2014                      /s/ Beverly R. McCallum
 4                                                        BEVERLY R. MCCALLUM, ESQ.
                                                          Attorney for Defendant
 5                                                        BREE ANN BENSON
     / /
 6

 7
     / /
 8
                                                     ORDER
 9
           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance may be
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     waived at any and all proceedings until further order.
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     IT IS SO ORDERED.
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           Dated:   December 5, 2014                             /s/ Sheila K. Oberto
                                                       UNITED STATES MAGISTRATE JUDGE
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       RULE 43 WAIVER; [PROPOSED] ORDER                  2
       THEREON
